     Case 2:16-cv-13900-JTM-KWR Document 51 Filed 03/22/18 Page 1 of 7




                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA


STACY MORGAN, ET AL.                                  CIVIL ACTION


VERSUS                                                NO: 16-13900


AMERICAS INSURANCE COMPANY                            SECTION: “H”(4)




                         ORDER AND REASONS
      Before the Court is Defendant Americas Insurance Company’s Motion to
Lift Administrative Stay and Motion to Dismiss (Doc. 38). For the following
reasons, the Motion is GRANTED.


                              BACKGROUND
      Following a 2015 fire, Hollis Burton hired Plaintiff A-Plus Contractors,
LLC (“A-Plus”) to perform remediation and repairs to his property. A-Plus is
owned by Plaintiff Stacy Morgan. Burton was insured for this loss by
Defendant Americas Insurance Company (“AIC”). Burton executed a post-lost
assignment of insurance benefits form whereby he assigned all benefits of the
policy relative to the 2015 fire claim to A-Plus. Pursuant to this assignment,
Plaintiffs Morgan and A-Plus seek payment from Defendant for the work

                                      1
        Case 2:16-cv-13900-JTM-KWR Document 51 Filed 03/22/18 Page 2 of 7



completed on the property. On June 15, 2016, Plaintiffs filed suit in Louisiana
State Court seeking payment for the repair and remediation costs, damages
for breach of contract and negligence, penalties for arbitrary and capricious
acts, attorneys’ fees, and general and special damages pursuant to Louisiana
Revised Statutes §§ 22:1973 and 22:658. Defendant removed the matter to this
Court on the basis of diversity.
         This Court determined that Plaintiffs had accepted a valid assignment
of benefits and succeed to all rights and benefits of the insured relative to the
AIC policy. 1 Defendant then sought to enforce provisions of the policy requiring
the insured to submit to an examination under oath (“EUO”), provide
documentation to support the claim, and comply with the appraisal process set
forth in the policy. On July 6, 2017, the Court found that Plaintiffs were
required to comply with those provisions and stayed the proceedings pending
the completion of the appraisal, EUO of Plaintiff Morgan, and production of
documents supporting the claim. 2
         On October 16, 2017, Defendant filed this Motion to Lift Stay and
Dismiss. 3 Defendant presented evidence that Plaintiff Morgan cancelled a
scheduled EUO before instituting this suit and then repeatedly refused to
provide alternative dates. 4 Defendant also presented evidence that, after this
Court’s ruling that Plaintiff Morgan was required to submit to an EUO,
Plaintiff continued to delay scheduling the EUO and ultimately cancelled a
scheduled EUO two days before it was set to take place. 5 Furthermore,
Defendant presented evidence that Plaintiffs failed to name an appraiser as



1   Doc. 19.
2   Doc. 36.
3   Doc. 38.
4   Doc. 38-1 at 6.
5   Doc. 38-1 at 7–8.

                                        2
       Case 2:16-cv-13900-JTM-KWR Document 51 Filed 03/22/18 Page 3 of 7



required under the policy, despite repeated inquiries from Defendant. 6
Defendant moved to lift the stay and dismiss the case pursuant to Rule 41(b)
of the Federal Rules of Civil Procedure for Plaintiffs’ failure to comply with the
Court’s orders.
        On November 8, 2017, the Court heard oral argument on Defendant’s
Motion. Admonishing Plaintiffs to rapidly comply with the requirements of the
policy, the Court deferred consideration of Defendant’s Motion to Dismiss and
ordered that the stay be lifted on December 8, 2017. The Court advised that if
the EUO and appraisal were not underway by that time, the Court would
entertain Defendant’s Motion to Dismiss.
        On December 12, 2017, the Court lifted the stay and ordered the parties
to submit supplemental briefing on whether Plaintiffs had complied with the
policy requirements. The parties report that Plaintiffs did designate an
appraiser. 7 However, Defendant states that Plaintiffs have still failed to
comply with the Court’s orders that Plaintiff Morgan submit to the EUO and
produce supporting documents. 8 The Court now considers Defendant’s motion
to dismiss Plaintiffs’ claims pursuant to Rule 41(b) for the failure to comply
with this Court’s order that Plaintiff Morgan submit to an EUO.


                                 LEGAL STANDARD
        Rule 41(b) of the Federal Rules of Civil Procedure provides that a court
may in its discretion dismiss any action based on the failure of the plaintiff to
comply with any order of the court. 9 In applying the sanction of dismissal with
prejudice, courts have traditionally considered the extent to which the


6   Doc. 38-1 at 8.
7   Doc. 50 at 3.
8   Doc. 50.
9   McCullough v. Lynaugh, 835 F.2d 1126, 1127 (5th Cir. 1988).

                                             3
      Case 2:16-cv-13900-JTM-KWR Document 51 Filed 03/22/18 Page 4 of 7



plaintiff, rather than his counsel, is responsible for the delay or failure to
comply with the court’s order. 10 A dismissal with prejudice will be affirmed
only upon a showing of (1) a clear record of delay or contumacious conduct by
the plaintiff and (2) that lesser sanctions would not serve the best interests of
justice. 11 Generally speaking, a court should also look to the presence of one or
more aggravating factors, including the extent to which the plaintiff is
personally responsible for the delay, the degree of actual prejudice to the
defendant, and whether the delay was the result of intentional conduct. 12


                                LAW AND ANALYSIS
       Plaintiffs have demonstrated a clear pattern of delay and disrespect for
this Court’s orders, have caused prejudice to Defendant as a result, and have
not responded to lesser interventions from this Court. On April 14, 2016, before
Plaintiffs filed this suit, Defendant demanded that Plaintiffs submit to an EUO
and the appraisal process set forth in the policy. 13 The parties scheduled an
EUO for May 3, 2016, but Plaintiffs cancelled. 14 Defendant repeated its
demand on May 24, June 10, July 8, and July 13 of 2016. 15 During that time,
Plaintiffs filed this suit and continued to refuse to comply with the policy
provisions requiring an EUO and appraisal. On July 6, 2017, in response to a
motion that Defendants had to file because of Plaintiffs’ obstruction, this Court
ordered that Plaintiffs submit to an EUO and appraisal. 16




10 See Markwell v. County of Bexar, 878 F.2d 899, 902 (5th Cir. 1989).
11 Coleman v. Sweetin, 745 F.3d 756, 766 (5th Cir. 2014) (per curiam).
12 Rogers v. Kroger Co., 669 F.2d 317, 320 (5th Cir. 1982).
13 Doc. 24-8.
14 Doc. 24-9.
15 See Docs. 24-9, 24-11, 24-12, 24-13.
16 Doc. 36.



                                             4
      Case 2:16-cv-13900-JTM-KWR Document 51 Filed 03/22/18 Page 5 of 7



       Plaintiffs continued their refusal, despite being directly ordered by this
Court to submit to an EUO and cooperate with the appraisal process.
Defendant asked for Plaintiffs’ availability on July 18, 2017 and Plaintiffs did
not respond. 17 Defendant asked again on August 17, 2017 and Plaintiffs did
not respond. 18 Defendant asked a third time on August 22. 19 Plaintiffs at last
responded, setting an EUO for September 27, 2017. 20 Plaintiffs’ counsel stated
that he was late in responding to Defendant’s request because he moved offices
and had a jury trial. 21 Two days before the EUO was scheduled to take place,
Plaintiffs unilaterally cancelled. 22 Plaintiff Morgan represented that he was
“stuck” with work projects in Miami following Hurricane Irma and requested
that Defendants provide new dates in mid-October. 23
       In response, Defendant filed this Motion to Dismiss. On November 8,
2017, the Court again ordered Plaintiffs to comply with the policy provisions,
this time setting a deadline of December 8, 2017. The following day, Plaintiffs
proposed November 22 for the EUO. 24 Defendants provided several
alternatives and the parties ultimately scheduled the EUO for November 30,
2017. 25 Plaintiff Morgan failed to arrive for the EUO because he took a gun to
the airport and was detained while travelling to New Orleans. 26
       In sum, Plaintiffs refused to submit to an EUO or provide documentation
to support their claim until directly ordered by the Court. Once ordered,
Plaintiffs avoided the issue for more than a month. When the EUO was finally


17 Doc. 38-4.
18 Doc. 38-5.
19 Doc. 38-6.
20 Docs. 38-7, 38-8, 38-9.
21 Doc. 38-7.
22 Doc. 38-10.
23 Docs. 38-10, 42 at 2.
24 Doc. 50-1.
25 Doc. 50-1.
26 Doc. 50-3.



                                        5
      Case 2:16-cv-13900-JTM-KWR Document 51 Filed 03/22/18 Page 6 of 7



scheduled, Plaintiff Morgan chose to pursue a business opportunity rather
than appear for a court-ordered examination. Rather than dismiss the case at
that point, the Court set a specific deadline for Plaintiffs’ compliance. Plaintiffs
first proposed a date for an EUO two weeks from that order, wasting half of
the extension that the Court granted. The final EUO was scheduled for less
than one week from the Court’s deadline. Plaintiff Morgan again failed to
attend, this time because he was detained for attempting to bring a gun onto
an airplane. Plaintiff has not appeared since that date for an EUO, nor has
Plaintiff filed a motion with this Court seeking approval of a late EUO.
       Plaintiffs have demonstrated a record of contumacious conduct by
delaying the scheduling of an EUO and failing to appear for multiple scheduled
EUOs. 27 This conduct is intentional and attributable to Plaintiffs. Plaintiffs’
conduct has prejudiced Defendant by impeding Defendant’s ability to
investigate a claim amount that it disputes. 28 The Court has already ordered
Plaintiffs to comply with the policy, given Plaintiffs a second chance, and set a
specific deadline for compliance. In light of Plaintiffs’ obstinacy, the Court finds
that lesser sanctions would not be effective and that dismissal under Rule 41(b)
is warranted. Furthermore, examination under oath and the production of
documents supporting a claim are requirements of the policy under which
Plaintiffs sue. Their failure to comply with the policy’s requirements is itself a
basis for dismissal. 29 Accordingly, Defendant’s Motion is GRANTED and
Plaintiffs’ claims are DISMISSED WITH PREJUDICE.




27 See Dorsey v. Scott Wetzel Servs., Inc., 84 F.3d 170, 172 (5th Cir. 1996) (finding repeated
   scheduling delays and the failure to appear contumacious).
28 See Mosadegh v. State Farm Fire & Cas. Co., 330 F. App’x 65, 66 (5th Cir. 2009) (affirming

   a finding of prejudice when insured failed to submit to an examination under oath).
29 See id. (upholding dismissal on summary judgment for failure to submit to examination

   under oath as required by policy).

                                              6
    Case 2:16-cv-13900-JTM-KWR Document 51 Filed 03/22/18 Page 7 of 7



                            CONCLUSION
     For the foregoing reasons, Defendant’s Motion to Dismiss is GRANTED
and Plaintiffs’ claims are DISMISSED WITH PREJUDICE.




                   New Orleans, Louisiana this 21st day of March, 2018.




                                 ____________________________________
                                 JANE TRICHE MILAZZO
                                 UNITED STATES DISTRICT JUDGE




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